908 F.2d 967Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnny Eugene HARRIS, Plaintiff-Appellant,v.AUGUSTA CORRECTIONAL CENTER;  Larry Huffman, Warden;  L.Jarvis;  Major Armentrout;  Sergeant Pettry;Officer Ingram, Defendants-Appellees.
    No. 90-7318.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 4, 1990.Decided:  June 21, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  B. Waugh Crigler, United States Magistrate.  (C/A No. 89-843-R).
      Johnny Eugene Harris, appellant pro se.
      William W. Muse, Assistant Attorney General, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Johnny Eugene Harris appeals from the magistrate's order denying relief under 42 U.S.C. Sec. 1983.1   Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the magistrate.2   Harris v. Augusta Correctional Center, C/A No. 89-843-R (W.D.Va. Mar. 23 and Apr. 9, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        1
         The parties consented to the jurisdiction of the magistrate pursuant to 28 U.S.C. Sec. 636(c)
      
      
        2
         We also deny Harris' motion for a temporary injunction
      
    
    